
685 S.E.2d 799 (2009)
STATE of North Carolina
v.
Shelton Lamar SAPP.
No. 322P08.
Supreme Court of North Carolina.
October 8, 2009.
Russell Hollers, III, Durham, for Sapp.
Norma Harrell, Special Deputy Attorney General, for State of NC.
Prior report: 190 N.C.App. 698, 661 S.E.2d 304.

ORDER
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by the Defendant-Appellant on the 8th of July 2008 in this matter pursuant to G.S. 7A-30, and the motion to dismiss the appeal for lack of substantial constitutional question filed by the State of NC, the following order was entered and is hereby certified to the North Carolina Court of Appeals: the motion to dismiss the appeal is
"Allowed by order of the Court in conference, this the 8th of October 2009."
Upon consideration of the petition filed on the 8th of July 2008 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 8th of October 2009."
